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                          IN THE UNITED STATES DISTRICT
                            COURT FOR THE NORTHERN
                                DISTRICT OF TEXAS

NICHOLAS LACKEY,                               §           CIVIL ACTION NO:
                                               §
         PLAINTIFF                             §           JURY TRIAL DEMANDED
                                               §
v.                                             §
                                               §           PLAINTIFF’S ORIGINAL
                                               §           COMPLAINT
OFFICERS ABEL SALAZAR #1037,                   §
AUSTIN PALMER #1045,                           §
                                               §
(individually)                                 §           DALLAS DIVISION
                                               §
         DEFENDANTS                            §
                                               §


                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT

         COMES NOW, Plaintiff Nicholas Lackey, to file this, his original complaint

against Defendants, SALAZAR AND PALMER:

                                        INTRODUCTION

             1.   This is an action under 42 U.S.C. § 1983 that arises out of the

unreasonable search and seizure of Plaintiff Nicholas Lackey that occurred on September 22,

2015 when Defendants Salazar and Palmer unlawfully used unreasonable and excessive

force against Mr. Lackey during a traffic stop in Dallas, Texas. Beginning with Defendant

Salazar’s decision to not provide Mr. Lackey with a reason for asking him to step out of his

vehicle, continuing with Defendant Salazar and Palmer’s decision to physically remove Mr.

Lackey from the vehicle by placing him in a chokehold, and their beating Mr. Lackey’s head

into the steering wheel or dashboard, digging their knees into his back and neck and striking

him while he was handcuffed, and finally throwing Mr. Lackey head and neck first onto the
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hood of Defendant Salazar’s police car, each and every use (as well as the cumulative use)

of force against Mr. Lackey constituted excessive and unreasonable use of force in

violation of Mr. Lackey’s constitutional rights. Under well-established law on the

excessive and unreasonable use of force, none of the Defendants who used excessive force

against Mr. Lackey are entitled to qualified or any other immunity for these actions.

                                JURISDICTION AND VENUE

             2.    This action is brought pursuant to 42 U.S.C. § 1983 and 1988 and the

Fourth Amendment to the United States Constitution, made applicable to the Defendants

through the Fourteenth Amendment to the United States Constitution. This Court has

jurisdiction over Plaintiff’s claims under 28 U.S.C. § 1331 (federal question) and under 28

U.S.C. § 1343 (civil rights).

             3.    Venue lies in U.S. Northern District of Texas, Dallas division, the district

and division, in which the claim arose, pursuant to 28 U.S.C. § 1391(b).

                                         PARTIES

             4.    Plaintiff Nicholas Lackey is an individual residing in Arlington, Texas.

             5.    Defendant ABEL SALAZAR (Defendant Salazar) is an individual

residing in Dallas County, Texas. The acts and omissions complained of herein arise from the

conduct of Defendant Salazar while he was acting under color of state law, and each act and

omission was committed pursuant to Defendant Salazar’s employment and authority as a

deputy sheriff with the Dallas Sheriff’s department.

             6.    Defendant Austin Palmer (Defendant Palmer) is an individual residing in

Dallas County, Texas. The acts and omissions complained of herein arise from the conduct of

Defendant Palmer while he was acting under color of state law, and each act and omission

was committed pursuant to Defendant Palmer’s employment and authority as a deputy sheriff

with the Dallas Sheriff’s department.

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                               FACTUAL
                             BACKGROUND

             7.    On September 22, 2015, Defendant Salazar initiated a traffic stop against

Plaintiff Lackey at or about 700 Stemmons Parkway in Dallas, TX.

             8.    Upon arriving at Mr. Lackey’s vehicle after the stop, Defendant Salazar

asked Plaintiff Lackey for his driver’s license. Mr. Lackey provided the officer with his

driver’s license. Defendant Salazar then returned to his vehicle.

             9.    Defendant Salazar remained in his vehicle for approximately seven

minutes.   After that time passed, Defendant Salazar returned to Mr. Lackey’s vehicle,

accompanied by Defendant Palmer.

             10.   At that time, Defendant Salazar asked Mr. Lackey to step out of the

vehicle. In response, Mr. Lackey asked why he was being asked to step out of the vehicle.

             11.   Defendant Salazar then raised his voice at Mr. Lackey, stating

aggressively: “I am going to tell you one more time, “step out of the car for me.” Defendant

Salazar then asked Mr. Lackey to step out of the vehicle four additional times in a rapid

succession. Deputy Lackey never responded to Mr. Lackey’s question asking for the reason

why he was being asked to step outside of the vehicle.

             12.   Rather than providing Mr. Lackey with his reasoning or any other

response, Defendant Salazar reached into Mr. Lackey’s vehicle, opened the door, and tried to

physically remove Mr. Lackey by excessive physical force, with the help of Deputy Palmer.

Specifically, Defendant Salazar and Defendant Palmer placed Mr. Lackey in a chokehold,

twisting and squeezing his neck. The Defendants also hit Mr. Lackey’s head against the

steering wheel or dashboard, grabbed and pulled his hair, dug their knees on Mr. Lackey’s

back and neck, and continued to strike and hurt him, even after they had placed him in

handcuffs. Defendant Salazar and Palmer’s excessive beating of Mr. Lackey continued for
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seven and a half minutes until they were able to pull Mr. Lackey out of his vehicle.

              13.    At that point, the Defendants shoved a handcuffed Mr. Lackey onto the

 hood of Defendant Salazar’s police vehicle, head first, making hard and forceful contact

 between Mr. Lackey’s head and neck and the hood.

              14.    As a result of the deputies’ excessive force, Mr. Lackey suffered a broken

 neck at the C7 vertebra. The Defendants also caused Mr. Lackey to suffer cervical faucet

 syndrome, a sprain/strain of the cervical spine, and a head contusion.

              15.    Additionally, the Defendants also placed the handcuffs excessively tight

 on Mr. Lackey’s wrist to cause Mr. Lackey pain. The excessively tight handcuffs caused Mr.

 Lackey to suffer neuropraxia and nerve damage to the wrists.

              16.    In sum, as a direct and proximate result of the excessive force and beating

 caused by the Defendants, Plaintiff Lackey suffered severe, serious and permanent physical

 injuries and attendant pain, suffering, and inconvenience.

              17.    Additionally, Plaintiff Lackey also incurred substantial medical expenses

 and lost time from school and work resulting in lost income, lost opportunities at work, and

 other associated damages.


                    COUNT 1: PLAINTIFF’S CIVIL RIGHTS CLAIM FOR USE
                    OF EXCESSIVE AND UNNECESSARY FORCE AGAINST
                    DEFENDANTS SALAZAR AND PALMER UNDER 42 U.S.C. §
                    1983


             18.     Mr. Lackey repeats and realleges each of the facts alleged in paragraphs 1-
17.

             19.     Plaintiff brings a claim against Defendants Salazar and Palmer for use of

 excessive and unnecessary force, pursuant to 42 U.S.C. § 1983 and for punitive damages.

              20.    Force is excessive, and therefore violates the Fourth Amendment, if it is

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not reasonable in light of the circumstances facing the officer. See Graham v. Connor, 490

U.S. 386, 398 (1989). The facts and circumstances of this case show that the Defendant

Officers’ actions here were clearly unreasonable.

             21.   Specifically, it was unreasonable for:

                    a. Defendant Salazar to refuse to provide Mr. Lackey a reason why

                         he was asking him to step out of the vehicle;

                    b.   Defendants Salazar and Palmer to decide to remove Mr. Lackey

                         from his vehicle by excessive force;

                    c. Defendant Salazar and Defendant Palmer to place Mr. Lackey in

                         a chokehold, twisting and squeezing his neck;

                    d. Defendants Salazar and Palmer to hit Mr. Lackey’s head against

                         the steering wheel or dashboard, grab and pull his hair, and dig

                         their knees on Mr. Lackey’s back and neck;

                    e. Defendants Salazar and Palmer to continue to strike and hurt Mr.

                         Palmer, even after they had placed him in handcuffs.

                    f. Defendants Salazar and Palmer to physically abuse Mr. Lackey

                         for seven and a half minutes until they were able to pull Mr.

                         Lackey out of his vehicle.

                    g. Defendants Salazar and Palmer to shove a handcuffed Mr.

                         Lackey onto the hood of Defendant Salazar’s police vehicle,

                         head first, making hard and forceful contact between Mr.

                         Lackey’s head and neck and the hood.



             22.   Therefore, by using excessive and unnecessary force while acting under

color of state law, Deputy Sheriffs Salazar and Palmer violated Mr. Lackey’s rights under the
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Fourth and Fourteenth Amendments to the United States Constitution and caused his physical

 injuries, his mental and emotional distress and injuries, lost income, pain and suffering, and

 his hospital bills. Defendants are therefore liable to Plaintiff for all compensatory and

 exemplary damages and his attorneys’ fees and costs.

              23.   Defendants’ actions violated clearly established constitutional law and

 Defendants are not entitled to qualified immunity.

               REQUEST FOR ATTORNEYS’ FEES UNDER 42 U.S.C. § 1988

              24.      Plaintiff is entitled to his attorneys’ fees and costs in this action

under 42 U.S.C. § 1988. Plaintiff therefore requests that the Court and jury grant his request for

attorneys’ fees and costs.

                                     JURY DEMAND

              25.   Plaintiff respectfully requests a jury trial under Federal Rule of Civil

 Procedure 8(b).


                                            PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that

 Defendants be cited to appear and answer herein, and that Plaintiff have judgment against

 Defendants, jointly and severally, for actual damages above the jurisdictional minimum of

 the Court; exemplary damages; pre-judgment interest; post-judgment interest, costs of court,

 attorney’s fees and expenses and all other relief to which Plaintiff is justly entitled, at law or

 in equity.Respectfully submitted,




                                                       _/s/ Dimitri Dube
                                                       Dimitri Dube
                                                       TX State Bar No.
                                                       24068944
                                                       Dimitri Dube PC

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                                        /s/ Ezekiel Tyson Jr. _____

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